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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

VALLEYRIDGE SQUARE, LLC                             §
                                                    §
        Plaintiff                                   §
                                                    §
                                                    §                  Civil Action No.
                                                    §
SENECA INSURANCE COMPANY                            §
                                                    §
        Defendant                                   §

                           DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Pursuant to 28 U.S.C. §§1441 and 1446, Defendant Seneca Insurance Company

(“Seneca”) files this Notice of Removal on the basis of diversity of citizenship and jurisdictional

amount, and respectfully shows the Court the following:

                                      REMOVAL IS TIMELY

        1.      Seneca is a Defendant in Cause No. 17-7094-393, filed in the 393rd Judicial District

Court of Denton County, Texas, styled Valleyridge Square, LLC v. Seneca Ins. Co. Plaintiff

commenced this civil action against Seneca in the state court on or about August 28, 2017. Seneca

was first served with Plaintiff’s Original Petition (the “Petition”) on September 5, 2017.

        2.      Therefore, service of process in this cause was served on Seneca not more than

thirty (30) days before the filing of this notice, and this Notice of Removal is being filed within

one year of the date suit was first filed in state court.

                                      BASIS FOR REMOVAL

        3.      Removal is proper based upon diversity of citizenship under 28 U.S.C. §§ 1332(a),

1441(a) and 1446.
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A.      There is Complete Diversity

        4.     In its Original Petition, Plaintiff Valleyridge Square, LLC acknowledges that it is

a Texas limited liability companies with their principal places of business in Dallas County,

Texas. (Pl.’s Orig. Pet. at para. 2)

        5.     Both at the time the lawsuit was originally filed, and at the time of removal,

Defendant Seneca is a corporation incorporated and existing under the laws of New York,

keeping its principal place of business in New York.

B.      The Amount in Controversy Exceeds $75,000.00

        6.     This is a civil action in which the amount in controversy exceeds the jurisdictional

limits of $75,000.00. In determining the amount in controversy, the Court may consider,

“penalties, statutory damages, and punitive damages.” St Paul Reinsurance Co, Ltd v Greenberg,

134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v State Farm Lloyds, 1999 WL 151667, at *2 - 3

(N.D. Tex. 1999) (finding sufficient amount in controversy in plaintiff's case against the insurer

for breach of contract, bad faith, violations of the Texas Insurance Code and Texas Deceptive

Trade Practices Act and mental anguish). Plaintiff alleges that Seneca is liable under common

law claims for breach of contract and violations of §542 of the Texas Insurance Code and seeks

to recover actual damages, consequential damages, prejudgment interest, additional statutory

damages, post-judgment interest, and reasonable and necessary attorneys’ fees.          Plaintiff’s

Original Petition also indicates that Plaintiff seeks between $200,000 and $1,000,000. (Pl.’s

Orig. Pet. at para. 4). Thus, the amount in controversy clearly exceeds $75,000.

        7.     Accordingly, by virtue of diversity of citizenship the United States district courts

have original jurisdiction.




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                       STATE COURT DOCUMENTS BEING FILED

        8.      Pursuant to 28 U.S.C.§1446(a), attached hereto as Exhibit “A” is the Index of

Matters Being Filed that clearly identifies each document and indicates the date the document

was filed in state court. Attached hereto as Exhibit “B” is the Designation of Counsel          The

docket sheet, and all documents filed in the state court action have been requested and will be

supplemented.

                                             PRAYER

        WHEREFORE, based upon 28 U.S.C. §§1441 and 1446, Seneca respectfully requests that

this action be removed to the United States District Court for the Northern District of Texas, Dallas

Division, and that it be granted such other and further relief to which it may show itself justly

entitled.

                                              Respectfully submitted,
                                              THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                              By: /s/ James N. Isbell
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served via
the Court’s electronic notification system on the following counsel of record:

        Shaun Hodge
        THE HODGE LAW FIRM, PLLC
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                                           /s/ Christopher H. Avery
                                           Christopher H. Avery




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